                            Case 14-13402-LMI               Doc 36       Filed 07/13/14          Page 1 of 4
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 14-13402-LMI
Seyed Masoud Moghani                                                                                       Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: valenciay                    Page 1 of 2                          Date Rcvd: Jul 11, 2014
                                      Form ID: CGFD43                    Total Noticed: 31


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 13, 2014.
db            +Seyed Masoud Moghani,    9513 SW 125 Terr,    Miami, FL 33176-5049
aty           +Michael E Rehr, Esq,    9500 S Dadeland Blvd #550,    Coral Gables, FL 33156-2829
cr            +Association of Homeowners at Oak Ridge Estates II,,      c/o Michael Rehr,
                9500 S Dadeland Blvd #550,    Miami, FL 33156-2829
cr            +Wells Fargo Bank, National Association,     c/o Anila Rasul, Esq.,
                Robertson, Anschutz & Schneid, P.L.,    6409 Congress Ave, Suite 100,     Boca Raton, FL 33487-2853
92071353      +Association of Homeowner at Oke Ridge Estates II,,      C/O Michael E. Rehr, Esq.,
                Law Offices OfMichael E. Rehr , P.A.,     9500 S. Dadeland Boulevard, Suite 550,
                Miami, FL 33156-2829
92071369       Baptist Hospital,    Kendall Credit,   P.O Box 404665,     Atlanta, GA 30384-4665
92071358      +CAPITA21. Februar 2014L ONE BANK USA NA,     POB 30281,    SALT LAKE CITY, UT 84130-0281
92071361      +CHASE AUTO FINANCE,    PO BOX 901003 CREDIT BUREAU DISP,     FORT WORTH, TX 76101-2003
92071370       Dynamic Recovery Solutions,    P.O Box 25759,    Greeenville, SC 29616-0759
92071352      +Emily A. Dillon,    Clarfield, Okon, salomone & Pincus P.L,
                500 South Australian Avenue, Suite 730,     West Palm Bch, Fl 33401-6237
92071365      +FIRST FED CREDIT CONTROL,    24700 CHAGRIN BLVD SUITE 205,     CLEVELAND, OH 44122-5662
92071354       Ford Motor Credit,    Moody, Jones, Ingino & Morehead, P.A.,
                1333 South University Drive Suite 201,     Davie Florida 33324-4022
92071368       G E Money Bank,    MCM Midland Cridet Managment, Inc,     8870 Areo Drive Suite 200,
                San Diego, CA 92123
92389591      +Green Tax Funding 2,    US Bank Green Tax Funding 2,     POB 645040,   Cincinnati OH 45264-0303
92389592      +Green Tax Funding 4,    US Bank Green Tax Funding 4,     POB 645040,   Cincinnati OH 45264-0303
92325295      +Jaguar Credit,    c/o Kenneth M. Jones, Esquire,    1333 S. University Dr., Suite 201,
                Plantation, FL 33324-4001
92071363      +LVNV FUNDING LLC,    625 PILOT ROAD SUITE 2/3,    LAS VEGAS, NV 89119-4485
92071364      +PORTFOLIO RECOVERY,    287 INDEPENDENCE,    VIRGINIA BEACH 23462-2962
92071366      +STELLAR RECOVERY,    1327 HIGHWAY 2 WES STE 100,    KALISPELL, MT 59901-3413
92071351      +Wells Fargo Bank, N,A.,    As Trustee Under Pooling and Servicing A,     OCWEN LOAN SERVICING LLC,
                1661 WORTHINGTON R STE 100,    WEST PALM BEAC, FL 33409-6493

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg           EDI: FLDEPREV.COM Jul 12 2014 00:23:00       Florida Department of Revenue,    POB 6668,
               Bankruptcy Division,    Tallhassee, FL 32314-6668
ust          +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Jul 12 2014 00:47:25        Office of the US Trustee,
               51 S.W. 1st Ave.,    Suite 1204,   Miami, FL 33130-1614
cr           +E-mail/Text: mdtcbkc@miamidade.gov Jul 12 2014 00:47:37       Miami-Dade County Tax Collector,
               c/o Pablo Lugo,   140 West Flagler St., Suite.1403,     Miami, FL 33130-1561
92071367     +EDI: CAPITALONE.COM Jul 12 2014 00:23:00       CAPITAL ONE NATIONAL ASS,    POB 30281,
               SALT LAKE CITY, UT 84130-0281
92071356     +EDI: RMSC.COM Jul 12 2014 00:23:00      GECRB /DILLARDS,    PO BOX 965024,    ORLANDO, FL 32896-5024
92071357     +EDI: RMSC.COM Jul 12 2014 00:23:00      GECRB/CARE CREDIT,    C/O PO BOX 965036,
               ORLANDO, FL 32896-0001
92071371      EDI: HFC.COM Jul 12 2014 00:23:00      HSBC,    P.O Box 5241,   Carol Stream IL 60197-5241
92071355     +EDI: HFC.COM Jul 12 2014 00:23:00      HSBC BANK,    PO BOX 30253,    SALT LAKE CITY, UT 84130-0253
92071359     +EDI: HFC.COM Jul 12 2014 00:23:00      HSBCBANK,    PO BOX 30253,   SALT LAKE CITY, UT 84130-0253
92071360     +EDI: FORD.COM Jul 12 2014 00:23:00      JAGUAR CREDIT,    POB 542000,    OMAHA, NE 68154-8000
92384355     +E-mail/Text: mdtcbkc@miamidade.gov Jul 12 2014 00:47:37       Miami-Dade County Tax Collector,
               140 West Flagler Street, Suite.1403,    Miami, FL 33130-1561
                                                                                               TOTAL: 11

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
92071362*       +JAGUAR CREDIT,   POB 542000,   OMAHA, NE 68154-8000
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 13, 2014                                            Signature: /s/Joseph Speetjens
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                              Form ID: CGFD43              Total Noticed: 31

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 11, 2014 at the address(es) listed below:
              Anila Rasul     on behalf of Creditor    Wells Fargo Bank, National Association arasul@rasflaw.com,
               bankruptcy@rasflaw.com
              Nancy K. Neidich    e2c8f01@ch13herkert.com
              Nirvani D Singh    on behalf of Creditor    Wells Fargo Bank, National Association
               nsingh@rasflaw.com, bankruptcy@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
                                                                                              TOTAL: 4
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CGFD43 (7/23/13)




ORDERED in the Southern District of Florida on July 11, 2014




                                                                        Laurel M Isicoff
                                                                        United States Bankruptcy Judge


                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 14−13402−LMI
                                                                                                                 Chapter: 13


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Seyed Masoud Moghani
9513 SW 125 Terr
Miami, FL 33176

SSN: xxx−xx−4520




        ORDER DENYING CONFIRMATION AND DISMISSING CHAPTER 13 CASE

    This case came before the court on for confirmation of a proposed chapter 13 plan. Based on the
record, it is

ORDERED as follows:

      1. Confirmation of the proposed chapter 13 plan is denied.

      2. This case is dismissed with prejudice as to the filing of any bankruptcy case in any federal
         bankruptcy court in the United States of America by the above−named debtor for 180 days
         from entry of this order, or the expiration of any prejudice period set in any previous order,
         whichever is later.




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      3. All pending motions are denied as moot.

      4. The trustee shall file a final report prior to the administrative closing of the case.

      5. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Claude Pepper
         Federal Building, 51 SW 1st Ave, Room 1510, Miami, FL 33130, $0.00 for the balance of the
         filing fee as required by Local Rule 1017−2(E). Any funds remaining with the trustee shall be
         applied to this balance and the trustee must dispose of any funds in accordance with the
         Bankruptcy Code, and Local Rule 1017−2(F), unless otherwise ordered by the court. The court
         will not entertain a motion for reconsideration of this order unless all unpaid fees are paid at
         the time the motion is filed.

      6. A motion to rehear, reconsider, or reinstate a dismissed case must be filed in accordance with
         the requirements of Local Rule 9013−1(E).

      7. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for
         filing any future voluntary petitions submitted by this debtor if the refiling violates a prior order
         of the court or if the petition is accompanied by an Application to Pay Filing Fee in Installments
         and filing fees remain due from any previous case filed by the debtor.


The clerk shall serve a copy of this order on all parties of record.




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